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FILED: NEW YORK COUNTY CLERK 07/24/2020 06:52 PM                           INDEX NO. 160694/2019
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FILED: NEW YORK COUNTY CLERK 07/28/2020 05:09 PM                            INDEX NO. 160694/2019
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FILED: NEW YORK COUNTY CLERK 07/28/2020 05:09 PM                            INDEX NO. 160694/2019
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                109 1:20-cv-07311-LAK Document 12-12 Filed 09/14/20 Page 11 of NYSCEF:
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FILED: NEW YORK COUNTY CLERK 07/28/2020 05:09 PM                            INDEX NO. 160694/2019
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                109 1:20-cv-07311-LAK Document 12-12 Filed 09/14/20 Page 12 of NYSCEF:
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FILED: NEW YORK COUNTY CLERK 07/28/2020 05:09 PM                            INDEX NO. 160694/2019
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FILED: NEW YORK COUNTY CLERK 07/28/2020 05:09 PM                            INDEX NO. 160694/2019
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                109 1:20-cv-07311-LAK Document 12-12 Filed 09/14/20 Page 14 of NYSCEF:
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FILED: NEW YORK COUNTY CLERK 07/28/2020 05:09 PM                            INDEX NO. 160694/2019
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FILED: NEW YORK COUNTY CLERK 08/07/2020 09:41 AM                            INDEX NO. 160694/2019
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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK


         E. JEAN CARROLL,

                                      Plaintiff,
                                                                  Index No. 160694/2019
            -against-                                             Hon. Verna L. Saunders

         DONALD J. TRUMP, in his personal capacity,

                                      Defendant.


                                              NOTICE OF ENTRY

                Please take notice that within is a true and correct copy of the Decision and Order on

         Motion of Justice Verna L. Saunders dated August 3, 2020, which was entered in the office of

         the Clerk of the County of New York on August 7, 2020.


         Dated: New York, New York                        Respectfully submitted,
                August 8, 2020


                                                          Roberta A. Kaplan
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                                                          Matthew J. Craig
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                                                          mcraig@kaplanhecker.com

                                                          Counsel for Plaintiff E. Jean Carroll




         To: Counsel of Record (by NYSCEF)




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